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GreenbergTraurig

December 21, 2018
VIA ECF

The Honorable Vernon S. Broderick

United States District Court

Southern District of New York

Thurgood Marshall United States Courthouse
40 Foley Square, Room 415

New York, New York 10007

Re: Great Western Insurance Company v. Mark Graham, et al., Case No. 18-06249 (VSB)
Dear Judge Broderick,

The parties have met and conferred regarding a schedule for responses to the newly filed
Second Amended Complaint (“SAC”), (Dkt. 106), and are pleased to report an agreement to the
schedule set forth in this letter, subject to the Court’s approval.

On December 21, 2018, Plaintiff Great Western Insurance Company’s (“Great Western’)
counsel had a call with Defendants’ designee for purposes of the briefing schedule to the SAC
only. In that call, the parties agreed to ask the Court to approve the following briefing schedule
with respect to all Defendants other than Messrs. Lynch and Drake:

1. On or before February 5, 2019, the Defendants (other than Messrs. Lynch and Drake)
shall file their motions to dismiss the SAC and memoranda in support thereof.

2. On or before March 12, 2019, Great Western shall file responses to any motions to
dismiss filed by the Defendants (other than Messrs. Lynch and Drake).

3. Onor before April 2, 2019, the Defendants (other than Messrs. Lynch and Drake) shall
file replies to any responses filed by Great Western.

Plaintiff stated that it will negotiate a separate schedule for responses to the SAC with
Messrs. Lynch and Drake. This proposed briefing schedule would replace the briefing schedule
previously agreed upon by the parties and endorsed by the Court (Dkt. 67) for responding to the
First Amended Complaint (Dkt. 69). The parties look forward to the Court’s response on this
matter.

Respectfully submitted,

/s/ Hal S. Shattel
Hal S. Shaftel

Ce: All Counsel of Record (via ECF)

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